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                                                                  FILED: December 4, 2012

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT

                                         ___________________

                                               No. 12-8052
                                         (8:04-cr-00235-RWT-9)
                                         ___________________


        UNITED STATES OF AMERICA

                        Plaintiff - Appellee

        v.

        LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, a/k/a Dobie Parker

                        Defendant - Appellant


        This case has been opened on appeal.

        Originating Court                         United States District Court for the
                                                  District of Maryland at Greenbelt
        Originating Case Number                   8:04-cr-00235-RWT-9
        Date notice of appeal filed in            11/29/2012
        originating court:
        Appellant (s)                             Lavon Dobie

        Appellate Case Number                     12-8052
        Case Manager                              Cathy Poulsen
                                                  804-916-2704
